             Case 23-59962-sms                        Doc 1          Filed 10/10/23 Entered 10/10/23 09:52:51                               Desc
                                                                    Petition Page 1 of 6
                                                                                                -I, EDI!               DFFICE

 Fill in this information to identify the case:

  United States Bankruptcy Court for the:

                                                                                              2023 OCT ] 0 A!: 9:15
                             District of
                                           (State)
  Case number (If known):                                        Chapter    1                                                         0 Check if this is an
                                                                                                                                        amended filing


            23 5996
Official Form 201
                            Uln
                                                                                                       ottli



Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name



 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer
    Identification Number (EIN)
                                                      j     _        3 67           S     S
                                                                                        ,..



 4. Debtor's address                             Principal place of business                                 Mailing address, if different from principal place
                                                                                                             of business

                                                                  L:trz     iei         dace                Number       Street
                                                 Number         Street


                                                                                                            P.O. Box

                                                 CyUlelSt -rin                           30010
                                                City                            State     ZIP Code          City                         State       ZIP Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                      eWi lklbq
                                                County
                                                                                                            Number       Street




                                                                                                            City                        State        ZIP Code



 s. Debtor's website (URL)                           rJ N




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
            Case 23-59962-sms                 Doc 1            Filed 10/10/23 Entered 10/10/23 09:52:51                                 Desc
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Debtor         c
             Name
                                                        (-Lc'                                   Case number of known)



                                         DoCc<poration (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                          Ei Partnership (excluding LLP)
                                          0 Other. Specify:

                                          A. Check one:
 7. Describe debtor's business
                                          0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          0 Railroad (as defined in 11 U.S.C. § 101(44))
                                          El Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ,-ENone of the above


                                          B. Check      that apply:

                                          El Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          0 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             htto://www.uscourts.00v/four-dioit-national-association-naics-codes .



 8. Under which chapter of the            Check one:
    Bankruptcy Code is the
                                          Li Chapter 7
    debtor filing?
                                          0 Chapter 9
                                                apter 11. 90ck all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                    ;
                                                              a The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                                  aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                              affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                             recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                              income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                                11 U.S.C. § 1116(1)(B).
     check the second sub-box.                                O The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                              O A plan is being filed with this petition.

                                                              O Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              •   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                          0 Chapter 12




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 2
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Debtor
              Name
                  C       etA1         fl -te--V       S          U--                                    Case number (ir knot.,)


 a. Were prior bankruptcy cases ZrNo
    filed by or against the debtor
    within the last 8 years?       D Yes. District                                                 When                            Case number
                                                                                                           MM/ DD / YYYY
     If more than 2 cases, attach a
     separate list.                                        District                                When                            Case number
                                                                                                           MM/ DD / YYYY

 10. Are any bankruptcy cases               .12<lo
     pending or being filed by a
     business partner or an                  0 Yes. Debtor                                                                         Relationship
     affiliate of the debtor?                              District                                                                When
     List all cases. If more than 1,                                                                                                              MM / DD      /YYYY
     attach a separate list.                               Case number, if known


 11.Why is the case filed in this           Check all that apply:
     district?
                                           „Wliebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                            0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12.Does the debtor own or have             D No
    possession of any real                  0 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                                Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                        O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                              What is the hazard?

                                                        O It needs to be physically secured or protected from the weather.

                                                        O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                        O Other



                                                        Where is the property?_0_ _Etk cfre(A
                                                                                      Number              Street

                                                                                        CD)               1

                                                                                      City
                                                                                               ,

                                                                                                   r!s
                                                                                                          .1,e1                                              2ool
                                                                                                                                                  State ZIP Code


                                                        Is the property insured?


                                                      ,I      Yes. Insurance agency          ku,
                                                                      Contact name

                                                                      Phone



             Statistical and administrative information




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Debtor               Cl'ItiJa. co/ Anc,                              C__                              Case number (if wioivri)
            Name




 13. Debtor's estimation of              ChecIone:
     available funds                     p'<nds will be available for distribution to unsecured creditors.
                                         0 After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1- 1,"
                                             1-49                                 0 1,000-5,000                                   0 25,001-50,000
 14. Estimated number of
                                         0 50-99                                  0 5,001-10,000                                 )210,001-100,000
     creditors
                                         0 100-199                                0 10,001-25,000                                 0 More than 100,000
                                         0 200-999

                                      _....far$0-$50,000                          LI $1,000,001-$10 million                       •   $500,000,001-$1 billion
 15. Estimated assets
                                             $50,001-$100,000                     Li $10,000,001-$50 million                      •   $1,000,000,001-$10 billion
                                         •   $i O0,001-$500,000                   •   $50,000,001-$100 million                    • $10,000,000,001-$50 billion
                                         •   $500,001-$1 million                  •   $100,000,001-$500 million                   O More than $50 billion


                                         O 9-$50,000                              •   $1,000,001-$10 million                      • $500,000,001-$1 billion
 16. Estimated liabilities
                                             $50,001-$100,000                     •   $10,000,001-$50 million                     1:1 $1,000,000,001-$10 billion
                                         •   $100,001-$500,000                    •   $50,000,001-$100 million                    • $10,000,000,001-$50 billion
                                         •   $500,001-$1 million                  •   $100,000,001-$500 million                   O More than $50 billion




            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor

                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on        JO( ill        2°177
                                                                 M     DD YYYY

                                                                                                                                                    mit-vo
                                                  ignatu e..o authorized reTketentative of deb16i•-                Printed name

                                             Title           (Aine,u'




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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Debtor
            Name
                   Chew& 1-&-otts                                            Case number (i/known)



 18. Signature of attorney
                                                                                        Date
                               Signature of attorney for debtor                                       MM      / DD / YYYY




                               Printed name


                               Firm name


                               Number         Street


                               City                                                           State            ZIP Code



                               Contact phone                                                  Email address




                               Bar number                                                     State




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Case Number: 23-59962                           Name: Chewa Farms LLC                              Chapter: 11 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

0 Individual - Series 100 Forms                                                         121 Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                    Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                   O Last 4 digits of SSN
 0 Pro Se Affidavit (signature must be notarized,                                       O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                    0 Statistical Estimates
 El Signed Statement of SSN                                                             O Other:
MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                       Case filed via:
El Schedules: A/B D E/ F G H                                                      El Intake Counter by:
El Summary of Assets and Liabilities                                                   O Attorney
M Declaration About Debtor(s) Schedules                                                O Debtor
D Attorney Disclosure of Compensation                                                  El Other: William Elliott Mann 678-651-4505 or 678-
O Petition Preparer's Notice, Declaration and Signature (Form 119)                914-4668
                                                                                  0 Mailed by:
D Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                       O Attorney
O Chapter 13 Current Monthly Income
                                                                                       O Debtor
O Chapter 7 Current Monthly Income
O Chapter 11 Current Monthly Income                                               El Email [Pursuant to General Order 45-2021, this petition
El Certificate of Credit Counseling (Individuals only)                            was received for filing via email]
O Pay Advices (Individuals only) (2 Months)
O Chapter 13 Plan, complete with signatures (local form)                                        History of Case Association



                                                                                                                                 7')
El Corporate Resolution (Non-Individual Ch. 7 & 11)                               Prior cases within 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
O Statement of Intent — Ch.7 (Individuals only)                                   Signur-7
Ch.11 Business                                                                     cknowledgnpnt of receipt of Deficierl Srgotice
El 20 Largest Unsecured Creditors
El List of Equity Security Holders                                                 Intake Clerk:                    ID Verified El Date:10/10/23
El Small Business - Balance Sheet                                                                    r.smith
   Small Business - Statement of Operations
M Small Business - Cash Flow Statement
El Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Paid $
       O Pending Pay.Gov, Paid $
      •   IFP filed (Ch.7 Individuals Only)
      ▪   2g-Order Granting        El 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
      ▪   2d-Order Denying with filing fee of $                due within 10 days
      O No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                              You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                         All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                   UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                            Atlanta, Georgia 30303
                                                                404-215-1000
